812 F.2d 1401Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ross L. MOORE, All Inmate on Protective Custody, Plaintiff-Appellant,v.Harold A. KANE, Warden, Maryland House of Correction,Defendant-Appellee.
    No. 86-7297.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 20, 1987.Decided Feb. 23, 1987.
    
      Before RUSSELL, SPROUSE and CHAPMAN, Circuit Judges.
      Ross L. Moore, appellant pro se.
      Stephen Howard Sachs, Richard M. Kastendieck, Office of the Attorney General, for appellee.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that an appeal from its order refusing relief under 42 U.S.C. Sec. 1983 would be without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Moore v. Kane, C/A No. 85-1148-HM (D.Md., Sept. 9, 1986.)
    
    
      2
      AFFIRMED.
    
    